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thereof, or as soon thereafter as counsel may be heard, why an order should not be issued

pursuant to Rule 65 of the Federal Rules of Civil Procedure enjoining the Defendants during the

pendency of this action and directing them to not remove from the ballot the name of Robert F.

Kennedy, Jr., independent party candidate for the office of the President of the United States;

and it is further

                ORDERED that, whereas Defendants have appeared, by the Office of

the Attorney General of the State of New York, who filed a notice of appearance on ECF

(Doc. No. 30), service of a copy of this order and annexed Memorandum of Law and

accompanying papers upon the Defendants or their counsel by e-filing on ECF, shall be

deemed good and sufficient service thereof.


                ORDERED that Defendants shall respond by August 28, 2024. Any reply by

Plaintiffs shall be filed by August 30, 2024.


DATED: New York, New York

ISSUED: August 23, 2024




                                                United States District Judge Andrew L. Carter




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